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UNITED STATES DISTRICT CO C123 PM I
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AT SDC
NO. OVS. 5
SHANNON JOHNSON
KENNETH WEEKS
BRANDON CAIN PLAINTIFFS
VS. NOTICE OF REMOVAL
LOUISVILLE/JEFFERSON COUNTY
METRO GOVERNMENT & MATTHEW CORDER DEFENDANTS
**K xe *

The Defendants, Louisville/Jefferson County Metro Government, by counsel, hereby give
notice of the removal of the above action to this Court pursuant to 28 USC §1441(a)(b) and in
connection with said removal, state as follows:

1. There was commenced on October 6, 2003, and is now pending in Jefferson Circuit
Court, Division Five, Civil Action No. 03CI-08723, in which the above named Plaintiffs are
Shannon Johnson, Kenneth Weeks and Brandon Cain and the Defendants are
Louisville/Jefferson County Metro Government and former Metro police officer Matthew
Corder.

2. The claims, based upon the allegations of plaintiffs’ Complaint, are of which the United
States District Court is given original jurisdiction under 28 USC §1331 as a civil action arising
under the laws of the United States, in this instance 42 USC § 1983, and the Constitution of the
United States.

3. Corder has not joined in this removal, but has had notice of the same directed to him.

4. That this Notice of Removal was timely filed in this Court within thirty (3 0) days after

the receipt on October 9, 2003, by the Defendant, Louisville/Jefferson County Metro

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Government, of a copy of Plaintiffs’ Complaint from which said Defendant first ascertained that
the case is one which has become removable pursuant to 28 USC §1446(b).

5. That written notice of the filing of this Notice of Removal is being given to all adverse
parties as required by law, including defendant Corder.

6. That a true and correct copy of this Notice of Removal will be filed with the Clerk of
the Jefferson Circuit Court, as provided by law.

7. That pursuant to 28 USC §1446(a) that there is filed herewith and by reference made a
part hereof, a true and correct copy of all process, pleadings and orders served upon this
Defendant in this action, the same to become a part of the record in Jefferson Circuit Court Civil
Action No. 03CI-08723.

WHEREFORE, these Defendant Metro Government pray that this action be removed from
the Circuit Court of Jefferson County, Kentucky to this Court for all further proceedings.

Respectfully submitted,

JEFFREY 1) FREEMAN
Assistant Jefferson County Attorney
400 South Sixth Street

Louisville, Kentucky 40202
502/574-2167

502/574-7563 (FAX)

LG. SPENCER, JR.

Assistant Jefferson County Attorney
531 Court Place, Suite 1001
Louisville, Kentucky 40202
502/574-6333

502/574-5573 (FAX)

Counsel for defendant Metro Government

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CERTIFICATE

I hereby certify that a copy of the foregoing was mailed to the following persons at the
indicated addresses on this QO. _ day of October 2003:

Mr. William D. Nefzger Mr. Mark Miller

O’KOON HINTERMEISTER PLLC 429 W. Muhammad Ali Blvd.
1100 PNC Plaza Louisville, Kentucky 40202
500 West Jefferson Street

Louisville, Kentucky 40202 Mr. Matthew Corder
502/581-1630 2406 High Pine Drive
502/581-1821 FAX Louisville, Kentucky 40214
Counsel for plaintiff

0) | \ JEFFREY L. FREEMAN

F: /JohnsonCorder-NtcofRemoval

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NO. JEFFERSON CIRCUIT COURT
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SHANNON JOHNSON’ _

KENNETH WEEKS,  DNsION Eee gouRT

and

BRANDON CAIN PLAINTIFFS

vs. COMPLAINT

LOUISVILLE JEFFERSON COUNTY METRO ‘.
Serve: Mayor Jerry E. Abramson
527 West Jefferson Street
Louisville, Kentucky 40202

Serve: Irv Maze
Jefferson County Attorney
600 West Jefferson Street, Suite 2086
Louisville, Kentucky 40202

and .
MATTHEW CORDER DEFENDANTS

2406 High Pine Drive
Louisville, Kentucky 40214

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Comes now the Plaintiffs, Kenneth Weeks, Shannon Johnson and Brandon Cain,

by counsel, and for their complaint against the Defendants state as follows:

1. At all times relevant and material hereto, the Plaintiff, Kenneth Weeks, was a

resident of Jefferson County, Kentucky.

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2. At all times relevant and material hereto, the Plaintiff, Shannon Johnson, was a
resident of Jefferson County, Kentucky.

3. At all times relevant and material hereto, the Plaintiff, Brandon Cain, was a
resident of Jefferson County, Kentucky.

4. At all times relevant and material hereto, the Defendant, Louisville Jefferson
County Metro is a municipality and governmental entity with its principal place of

operation in Jefferson County, Kentucky.

5. At all times relevant and material hereto, the Defendant, Matthew Corder, was a
resident of Jefferson County, Kentucky.
6. At all times relevant and material hereto, the Defendant, Matthew Corder, was an
agent and/or servant, and/or employee of the Defendant Louisville Jefferson County D
Metro serving as an officer of its Police Department.

COUNT
7. The Plaintiffs reiterate and adopt by reference thereto, each and every allegation
set forth above as if fully set forth hereinafter. Dp
8. On or about October 7, 2002, the Defendant, Matthew Corder, {uhite within the
course and scope of his employment as an officer with the Police Department and with
the intent to harm, assaulted and battered the Plaintiffs without provocation.
9. As a result of the assaults and batteries, the Plaintiffs suffered injuries and
damages.

COUNT II

10. The Plaintiffs reiterate and adopt by reference thereto, each and every allegation

set forth above as if fully set forth hereinafter.

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11. On or about October 7, 2002, the Defendant, Matthew Corder, while within the
course and scope of his employment as an officer with the Police Department,
intentionally and recklessly acted in an outrageous manner so as to offend the generally
accepted societal standard of decency and morality.
12. The conduct caused, and continues to cause, the Plaintiffs to suffer severe
emotional distress.

COUNT Ill
13. The Plaintiffs reiterate and adopt by reference thereto, each and every allegation
set forth above as if fully set forth hereinafter.

14. Onor about October 7, 2002, the Defendant, Matthew Corder, while within the

course and scope of his employment as an officer with the Police Department, falsely
imprisoned the Plaintiffs.
15. Asa result of the false imprisonments, the Plaintiffs have suffered injuries and
damages.

COUNT IV
16. The Plaintiffs reiterate and adopt by reference thereto, each and every allegation
Set forth above as if fully set forth hereinafter.
17. At all times relevant and material hereto, the Defendant Louisville Jefferson
County Metro, as an employer was negligent and/or deliberately indifferent in hiring,
training, supervising and retaining the Defendant Matthew Corder as an employee

and/or agent and/or servant giving rise to actions for both common law negligence and

under 42 USC § 1983.

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18. Asa result of the Defendant Louisville Jefferson County Metro’s negligence

and/or deliberate indifference, the Plaintiffs have suffered injuries and damages.

COUNT V
17. The Plaintiffs reiterate and adopt by reference thereto, each and every allegation
set forth above as if fully set forth hereinafter.
18. On or about October 7, 2002, the Defendant, Matthew Corder, while within the
course and scope of his employment as an officer with the Police Department, violated
the Plaintiffs’ Civil Rights as listed in the United States Constitution and/or federal
Statutory law thereby giving rise to an action under 42 USC §1983.
19. As aresult of the Civil Rights violation, the Plaintiffs suffered injuries and
damages.

COUNT VI
20. The Plaintiffs reiterate and adopt by reference thereto, each and every allegation
set forth above as if fully set forth hereinafter.
21. | Onor about October 7, 2002, the Defendant, Matthew Corder, while within the
course and scope of his employment as an officer with the Police Department, willfully
acted towards the Plaintiffs with malice and without justification.
22. The Defendant Louisville Jefferson County Metro has acted towards the Plaintiffs
in a grossly negligent, willful and/or deliberately indifferent manner.
23. As aresult of the Defendants actions, the Plaintiffs seek punitive damages in
accord with Kentucky Revised Statute 411.184.
24. The Plaintiffs have suffered damages in excess of the minimum dollar amount

necessary to establish jurisdiction in this court.

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sent,

WHEREFORE, the Plaintiffs, having stated their Complaint against the Defendants,
demand relief as follows: -
1. Judgment against the Defendants on all claims stated jointly and severally to

compensate Plaintiffs for their losses;

2. For punitive damages against the Defendants;

3. For a trial by jury on all issues so triable;

4. For reasonable attorney fees incurred in the prosecution of this incident;
5. For their costs herein expended; and oe

6. For all other necessary and proper relief to which they may be deemed
entitled.

Respectfully submitted,
O’KOON HINTERMEISTER, PLLC

LLL

William D. Nefzger

1100 PNC Plaza

500 West Jefferson Street
Louisville, KY 40202
(502) 581-1630

(502) 581-1821 FAX
Counsel for Plaintiff

